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                 UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF PENNSYLVANIA


TWIN CITY FIRE INSURANCE CO.,

                    Plaintiff,
            v.                             Civil Action No:

GLENN O. HAWBAKER, INC.,

                    Defendant.


             COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff Twin City Fire Insurance Co. (“Twin City”), for its Complaint

against Defendant Glenn O. Hawbaker, Inc. (“Hawbaker”), avers as follows:

                                 I.   INTRODUCTION

      1.     This is an insurance coverage dispute in which Twin City seeks a

declaration that there is no insurance coverage for any defense costs or indemnity in

connection with Hawbaker’s defense, settlement, or liability arising out of three

underlying lawsuits – one criminal, the other two civil class actions – filed against

Hawbaker for theft and misuse of over $20 million in wage benefits.

      2.     Twin City issued Private Choice Premier Policy No. 83 KB 0349589-

21, effective for the period of April 1, 2021 to April 1, 2022 (the “2021 Policy”.) A

copy of the 2021 Policy is attached hereto as Exhibit “A.”
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      3.     In June 2018, years prior to the effective date of the 2021 Policy, the

Commonwealth of Pennsylvania conducted a criminal investigation of Hawbaker’s

wage benefits practices. In April 2021, the Commonwealth filed a criminal

complaint against Hawbaker, styled Commonwealth of Pennsylvania v. Glenn O.

Hawbaker, Inc., Docket No. CR-89-2021, alleging that Hawbaker “stole

$20,696,453 in fringe benefit funds from prevailing wage workers between

September 1, 2015 and December 31, 2018 and used that money to pay for all

[Hawbaker] benefits and otherwise to lower the company’s costs.” Hawbaker

resolved the criminal action by plea agreement, agreeing to, among other things, pay

over $20 million in restitution.

      4.     Victims of Hawbaker’s theft then filed two civil class actions against

Hawbaker, styled James C. King v. Glenn O. Hawbaker, Inc., Case No. 2021-957,

currently pending in the Pennsylvania Court of Common Pleas, Centre County (the

“King Class Action”), and Lester Packer, Sr. v. Glenn O. Hawbaker, Inc., Case No.

21-cv-01747, currently pending in the Middle District of Pennsylvania (the “Packer

Class Action”.) (The Hawbaker “Board of Directors,” the Plan Administrator of the

Hawbaker Benefit Plan, and John Does 1-20 are also named defendants in the Packer

Class Action.)

      5.     The two civil actions seek, among other things, restitution relating to

Hawbaker’s theft and misuse of funds it diverted during the period of 2015 to 2018.


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      6.     Hawbaker provided Twin City with notice of each lawsuit and

requested insurance coverage under the 2021 Policy. Twin City denied coverage for

these lawsuits for multiple reasons, including without limitation because the 2021

Policy does not provide coverage for, among other things, (a) a loss that was not

fortuitous or that was in progress or known prior to the Policy’s inception date;

(b) restitution; or (c) other than certain defense costs, the actual or alleged failure to

pay or fund an Insured Plan. Twin City also explained that certain representations

made by Hawbaker in its application for the 2021 Policy and the prior year’s policy

(the “2020 Policy”) appeared to be false in light of the longstanding criminal

investigation such that there was no coverage under the policy.

      7.     Hawbaker continues to assert that Twin City must provide Hawbaker

with insurance coverage for the three lawsuits under the 2021 Policy.

      8.     Accordingly, Twin City brings this action to protect its rights and to

obtain a declaration that there is no coverage for any of the three lawsuits.

                II.    PARTIES, JURISDICTION, AND VENUE

      9.     Twin City is a corporation organized under the laws of the State of

Indiana with its principal place of business in Hartford, Connecticut. Twin City is

an insurance company.




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       10.    Hawbaker is a Pennsylvania corporation with its principal place of

business in State College, Pennsylvania. Hawbaker is a paving and construction

company.

       11.    This Court has jurisdiction pursuant to 28 U.S.C. to § 1332(a)(1)

because the controversy is between citizens of different states and the amount in

controversy exceeds the sum of seventy-five thousand dollars ($75,000), exclusive

of interests and costs.

       12.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

Hawbaker is deemed to reside in this district, the ERISA Plan at issue in one or more

of the underlying actions is administered in this district, and the underlying actions

were initiated in this district.

                                   III.   BACKGROUND

A.     The 2021 Policy
       13.    The 2021 Policy is a claims-made policy, which contains, among other

things, a Fiduciary Liability Coverage Part, subject to a $4 million aggregate limit

and no retention, and an Employment Practices Liability Coverage Part, which is

subject to a $3 million aggregate limit and a $150,000 retention. Ex. A. at

Declarations.




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      14.    Under the terms of 2021 Policy, coverage is provided on a claims-made

basis, and, as a condition of coverage, a Claim against an Insured must be first made

during the Policy Period. Ex. A. at Common Terms and Conditions.

      15.    The 2021 Policy’s insuring clause relating to the Fiduciary Liability

Coverage Part provides in part as follows:

             (A) Fiduciary Liability

             The Insurer shall pay Loss on behalf of the Insureds
             resulting from a Fiduciary Claim first made against the
             Insureds:
             (1) during the Policy Period or Extended Reporting Period,
             if applicable, for a Wrongful Act by the Insureds or by any
             person for whose Wrongful Acts the Insureds are legally
             responsible . . .

(Ex. A., Fiduciary Liability Coverage Part § I (A).)

      16.    “Loss” is defined as certain defense costs and other amounts “that the

Insureds are legally liable to pay solely as a result of a Claim covered by this

Liability Coverage Part[.]” (Ex. A., Fiduciary Liability Coverage Part § II.)

      17.    “Fiduciary Claim” is defined to include a:

                (4) formal administrative or regulatory proceeding
                commenced by the filing or service of a notice of
                charges, formal investigative order or similar
                document, including an investigation by the
                Department of Labor or Pension Benefit Guaranty
                Corporation or any governmental authority equivalent
                that is located outside of the United States (including
                the Pensions Ombudsman appointed by the United
                Kingdom Secretary of State for Work and Pensions or


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                 by the United Kingdom Occupational Pensions
                 Regulatory Authority or any successor thereto); . . . .

                 (6) investigation of an Insured Person for a Wrongful
                 Act committed in his or her capacity as a fiduciary of
                 an Insured Plan, commenced by such Insured Person’s
                 receipt of a written document identifying him or her as
                 the target of an investigation, including a Wells Notice,
                 target letter or search warrant, but only if received from
                 any governmental authority other than the Department
                 of Labor, Pension Benefit Guaranty Corporation or any
                 governmental authority equivalent thereto that is
                 located outside of the United States (including the
                 Pensions Ombudsman appointed by the United
                 Kingdom Secretary of State for Work and Pensions or
                 by the United Kingdom Occupational Pensions
                 Regulatory Authority or any successor thereto);
                 (7) written request upon an Insured Person for witness
                 testimony or document production commenced by the
                 service of a subpoena or similar document which
                 compels such testimony or the production of
                 documents in connection with any matter described in
                 sub-paragraphs (1) through (4) above . . . .

(Id.)

        18.   “Wrongful Act” is defined under the 2021 Policy Fiduciary Liability

   Coverage Part as any actual or alleged:

              (1) error, misstatement, misleading statement, act,
              omission, neglect or breach of duty constituting a violation
              of any responsibilities, obligations or duties imposed upon
              fiduciaries of an Insured Plan by ERISA or any similar
              law; . . .

              (3) error, misstatement, misleading statement, act,
              omission, neglect or breach of duty in the selection or
              oversight of any provider of Managed Care Benefits or any
              similar organization;

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              (4) error, misstatement, misleading statement, act,
              omission, neglect or breach of duty in counseling,
              providing interpretations, handling records, or effecting
              enrollment, termination or cancellation of Employees,
              participants, or beneficiaries under an Insured Plan; or in
              the administration of an Insured Plan;

              (5) act, error or omission by an Insured in their settlor
              capacity with respect to the creation, termination or
              amendment of an Insured Plan, including but not limited
              to any wellness program or plan which is subject to
              ERISA; or

              (6) matter claimed against an Insured due to such Insured
              acting in the capacity of a fiduciary of an Insured Plan.
(Id.)
        19.   “Insured Plan” is defined to include any past, present, or future:

              (1) employee welfare benefit plan or employee pension
              benefit plan, as defined in ERISA, or plans as defined by
              similar applicable foreign laws and regulations, sponsored
              solely by an Insured Entity, or jointly by an Insured Entity
              and a labor organization, for the benefit of Insured Persons
              only; . . . or
              (5) any other plan, fund, or program specifically included
              as an Insured Plan in a written endorsement issued by the
              Insurer to form a part of this Policy.

(Id.)
        20.   The 2021 Policy also contains an Employment Practices Liability

Coverage Part, which states as follows:

              (A)   Employment Practices Liability

                    The Insurer shall pay Loss on behalf of the Insureds resulting
                    from an Employment Practices Claim first made against the
                    Insureds during the Policy Period or Extended Reporting Period,

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                    if applicable, for an Employment Practices Wrongful Act by the
                    Insureds.

              (B)   Third Party Liability (Elective)

                    If Third Party Liability Coverage is included in ITEM 5 of the
                    Declarations, the Insurer shall pay Loss on behalf of the Insureds
                    resulting from a Third Party Claim first made against the
                    Insureds during the Policy Period or the Extended Reporting
                    Period, if applicable, for a Third Party Wrongful Act by the
                    Insureds.

(Ex. A., Employment Practices Liability Coverage Part § I (A).)

        21.   “Employment Practices Claim” means any of the following if made by

or on behalf of an Employee, an applicant for employment with an Insured Entity,

or an Independent Contractor:

              (1) a written demand for monetary damages or other civil
              non-monetary relief commenced by the receipt of such
              demand, including, without limitation, a written demand
              for employment reinstatement;
              (2) a civil proceeding, including an arbitration or other
              alternative dispute resolution proceeding, commenced by
              the service of a complaint, filing of a demand for
              arbitration, or similar pleading;
              (3) a formal administrative or regulatory proceeding,
              including, without limitation, a proceeding before the
              Equal Employment Opportunity Commission or similar
              governmental agency, commenced by the Insured’s
              receipt of a notice of charges, formal investigative order
              or similar document, or by the Insured's having evidence
              of a filing related thereto; or

              (4) a criminal proceeding commenced by the return of an
              indictment or similar document. . . .
(Id.)
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        22.   “Third Party Claim” means:

              (1) a written demand for monetary damages or other civil
              non-monetary relief commenced by the receipt of such
              demand;
              (2) a civil proceeding, including an arbitration or other
              alternative dispute resolution proceeding, commenced by
              the service of a complaint, filing of a demand for
              arbitration, or similar pleading; or

              (3) formal administrative or regulatory proceeding
              commenced by the filing of a notice of charges, formal
              investigative order or similar document . . .

(Id.)

        23.   “Employment Practices Wrongful Act” is defined to include:

              (5) breach of any oral, written, or implied employment
              contract, including, without limitation, any obligation
              arising from a personnel manual, employee handbook, or
              policy statement; . . .

(Id.)

        24.   The coverage provided under the Employment Practices Coverage Part

is subject to the following exclusions:

              (B) The Insurer shall not pay Loss in connection with any
              Claim based upon, arising from, or in any way related to:

              (1) any claims for unpaid wages (including overtime pay),
              workers’     compensation     benefits,   unemployment
              compensation, disability benefits, or social security
              benefits;

              (2) any actual or alleged violation of the Worker
              Adjustment and Retraining Notification Act, the National
              Labor Relations Act, the Occupational Safety and Health


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               Act, the Consolidated Omnibus Budget Reconciliation
               Act of 1985, ERISA, or any similar law; or

               (3) any Wage and Hour Violation. ***

               (C) The Insurer shall not pay Loss in connection with any
               Claim based upon, arising from, or in any way related to
               liability incurred for breach of any oral, written, or implied
               employment contract; provided, however, that this
               exclusion shall not apply to liability that would have been
               incurred in the absence of such contract nor shall it apply
               to the portion of the Loss representing Defense Costs
               incurred to defend against such liability.

(Ex. A, Employment Practices Liability Coverage Part § III (B) (1), (2), and (3)

and § III (C).)

      25.      The coverage provided under both the Fiduciary Liability Coverage

Part and the Employment Practices Coverage Part is subject to certain other

exclusions, including the following:

            (A) The Insurer shall not pay Loss: . . .

               (6) in connection with any Claim based upon, arising from,
               or in any way related to any:

                     (a) claims for unpaid wages (including overtime
                     pay),     workers’    compensation      benefits,
                     unemployment compensation, disability benefits, or
                     ...

                     (c) a Wage and Hour Violation.

               (7) of an Insured, based upon, arising from, or in any way
               related to the gaining of any personal profit, remuneration
               or financial advantage to which such Insured is not legally
               entitled if a judgment or other non-appealable final
               adjudication in the underlying action establishes that such
               a gain did occur; or
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             (8) of an Insured, based upon, arising from, or in any way
             related to any criminal or deliberately fraudulent act or
             omission or any willful violation of law by such Insured if
             a judgment or other non-appealable final adjudication in
             the underlying action establishes such an act, omission or
             violation; provided, however, that this exclusion shall only
             apply to Insured Entities if a past or present chief
             executive officer, chief financial officer general counsel or
             any position equivalent to the foregoing of the Named
             Entity committed such an act, omission or willful
             violation.

   (B) Other than that portion of Loss that represents Defense Costs
       incurred to defend the following allegations or demands, the
       Insurer shall not pay Loss for any Claim:
             (1) for the actual or alleged failure to pay benefits pursuant
             to any Insured Plan, provided that this exclusion shall not
             apply to the extent that:

                (a) recovery of such benefits is based upon a covered
                Wrongful Act and is payable as a personal obligation
                of an Insured Person; or

                (b) a Claim made against any Insured alleges a loss to
                an Insured Plan and/or to the accounts of such Insured
                Plan’s participants by reason of a change in value of the
                investments held by such Insured Plan, regardless of
                whether the amounts sought in such Claim are
                characterized by plaintiffs or held by a court to be
                benefits due or damages for breach of fiduciary duty;

             (2) based upon, arising from, or in any way related to the
             actual or alleged failure to fund, or collect contributions
             owed to, an Insured Plan; or
             (3) for return or reversion of any contributions or assets to
             an Insured Entity from an Insured Plan.

(Ex. A, Fiduciary Liability Coverage Part § III (A) (6), (7), and (8) and (B) (1), (2),

and (3).)
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   26.   Under the terms of the 2021 Policy, all Claims based upon, arising

from, or in any way related to the same Wrongful Acts or Interrelated Wrongful

Acts shall be deemed to be a single Claim for all purposes under the Policy first

made on the earliest date that any of the Claims was first made, regardless of

whether such date is before or during the Policy Period. (Ex. A, Common Terms

and Conditions § X.)

   27.   Section XVI, Application, of the 2021 Policy provides that:

         (B)       If the Application contains intentional
         misrepresentations that materially affect the acceptance of
         the risk by the Insurer:

             (1) for the purposes of determining coverage under all
                  Coverage Parts other than the Directors, Officers
                  and Entity Liability Coverage Part, no coverage
                  shall be afforded under this Policy for any
                  Insureds who knew on the Inception Date of this
                  Policy of the facts that were so misrepresented,
                  provided that:
                 (a) knowledge possessed by any Insured Person
                    shall not be imputed to any other Insured
                    Person; and

                 (b) knowledge possessed by any chief executive
                   officer, general counsel, chief financial officer,
                   human resources director or any position
                   equivalent to the foregoing of the Named
                   Entity, or anyone signing the Application,
                   shall be imputed to all Insured Entities. No
                   other person’s knowledge shall be imputed to
                   an Insured Entity.




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B. Hawbaker’s Knowledge of the Investigation and Its Wage Benefit Conduct
      28.    In June 2018, the Commonwealth executed a Search Warrant against

Hawbaker, seeking, among other things, (a) plan/trust documents for all benefit

plans; (b) summary plan descriptions; (c) notices sent to employees pertaining to all

benefit plans; (d) schedule of plan participants and status; (e) correspondence with

plan administrators; (f) annual audit reports of all benefit plans; (g) records for all

employees, whether working prevailing wage or non-prevailing wage, of benefits

provided and contribution rates for each; (h) documentation of all plan payments and

plan costs; (i) complaints submitted by any employee regarding the payment or

allocation of prevailing wage fringe benefit funds; and (j) correspondences received

from the U.S. Department of Labor or the PA Department of Labor and Industry

regarding complaints, investigation, or litigation related to the payment of prevailing

wage fringe benefits. A copy of the Search Warrant, with Affidavit of Probable

Cause is attached as Exhibit B.

      29.    Each category of documents sought relates directly to Hawbaker’s

administration of an Insured Plan and wage benefits practices.

      30.    The Affidavit of Probable Cause supporting the Search Warrant

confirms that: (1) Hawbaker is being targeted for investigation because of various

allegations of theft, corruption, and related offenses; (2) Hawbaker allegedly

knowingly and intentionally falsely overstated what it paid to its employees in fringe


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benefits in order to deprive employees of a portion of their wages; (3) Hawbaker

allegedly stole a portion of its employees’ wages, thereby committing theft by

unlawful taking, theft by failure to make required disposition of funds received,

tampering with public records, and false swearing; (4) Hawbaker allegedly did not

make pension contributions in the manner in which it claimed to; (5) several

Hawbaker employees never received fringe benefits that they were entitled to

receive from Hawbaker; and (6) Hawbaker knowingly overstated in its wage

certifications that it is spending certain amounts of money to pay for its prevailing

wage employees’ health, welfare, and pension plans, but then off-sets the hourly

cash wages paid through submission of false, overstated fringe benefit figures. (Ex.

B.)

       31.    In June of 2019, Hawbaker retained a consultant and subsequently

changed the way that it handled payment of prevailing wage fringe benefit funds and

ERISA Plan.

       32.    Upon information and belief, Hawbaker was aware by no later than

June 2019 (and likely earlier) that it was the target of an investigation related to

malfeasance around the administration of its Insured Plan and that its wage benefit

practices were improper and reasonably likely to lead to a Claim being asserted

against it.




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      33.    Yet, in connection with its application for the 2020 Policy, Hawbaker

answered “yes” to the following question: “Are all plans in compliance with plan

agreements and ERISA?” and “no” to the following question: “During the past 24

months, has there been, or is there currently, any investigation by the IRS, DOL . . .

or any other State or Federal Agency of any employee benefit plan or any current or

former fiduciary of such employee plan?”

      34.    Upon information and belief, at the time it submitted the 2020 Policy

application, Hawbaker was aware or should have reasonably been aware that (a) its

administration of the Insured Plan and its wage benefits practices were improper and

could reasonably lead to a Claim being asserted against it; and (b) its answers to the

questions above in the 2020 Policy application were false.

      35.    In connection with its application for the 2021 Policy, Hawbaker

answered “no” to the following question: “Does an applicant . . . have any knowledge

or information of any error, misstatement, misleading statement, act, omission,

neglect, breach of duty or other matter that may give rise to a claim?”

      36.    According to the Commonwealth of Pennsylvania, prior to April 8,

2021, Hawbaker officers had already admitted that the company had improperly

used prevailing wage benefit funds to pay for general employees, executives, and

owners benefits.




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        37.   Upon information and belief, at the time it submitted its 2021 Policy

application, Hawbaker was aware or should have reasonably been aware that (a) its

administration of the Insured Plan and its wage benefits practices were improper and

could reasonably lead to a Claim being asserted against it; and (b) its response to the

question above in the 2021 Policy application was incorrect.

        38.   Twin City relied on Hawbaker’s respective policy applications in

assessing the risk and issuing the 2020 and 2021 Policies.

   C.         The Criminal Action
        39.   On April 8, 2021, the Pennsylvania Attorney General filed the Criminal

Action against Hawbaker, alleging that Hawbaker had stolen fringe benefit funds

that were supposed to go into prevailing wage workers’ pensions and to pay for

prevailing wage workers’ health and welfare benefits. A copy of the Criminal

Complaint is attached as Exhibit C.

        40.   Specifically, the Criminal Action Complaint alleges that Hawbaker

“stole $20,696,453 in fringe benefit funds from prevailing wage workers between

September 1, 2015 and December 31, 2018 and used that money to pay for all

[Hawbaker] benefits and otherwise to lower the company’s costs. [Hawbaker] was

required to use that money for the sole benefit of the prevailing wage workers who

earned the money, but it failed to do so. Therefore, there is probable cause, for each




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year between 2015 and 2018, that [Hawbaker] committed the crime of Theft by

Failure to Make Required Disposition of Funds Received.” (Ex. C, p. 21 of 32.)

      41.    On August 2, 2021, Hawbaker entered into a Plea Agreement with the

Office of Attorney General. A copy of the Plea Agreement is attached as Exhibit D.

      42.    Under the Plea Agreement, Hawbaker agreed to plead no contest to four

counts of Theft by Failure to Make Required Disposition of Funds Received, 18

Pa.C.S. § 3927(a), based on “conduct in the years 2015-18.” (Ex. D., p. 1 of 4.)

      43.    As part of the Plea Agreement, Hawbaker was sentenced to serve a

concurrent five-year term of probation on each count and to “pay restitution for the

charged period in the amount of $20,696,453.00 to affected victims.” (Id. at p. 3 of

4.)

      44.    The Plea Agreement provides Hawbaker “will issue the payments

directly to the affected victims, under the supervision of the Corporate Monitor,”

and that “restitution may be paid in cash or in the form of retirement account

contributions” within 120 days of sentencing. (Id.) Hawbaker was also sentenced to

reimburse the Office of Attorney General for $240,562.78 for “third-party expert

fees incurred as costs of prosecution within 120 days of sentencing.” (Id.)




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D.    The King Class Action
      45.     On May 6, 2021, Plaintiff James King, on behalf of himself and all

others similarly situated, initiated the King Class Action. A copy of the King Class

Action Complaint is attached as Exhibit E.

      46.     According to the King Class Action Complaint, Hawbaker engaged in

a “systematic and clandestine scheme of wage abuse and wage and benefit

shortages,” which involved “failing to pay prevailing wages to hourly employees

working on prevailing wage projects by misrepresenting and misreporting the

amounts paid” for “various wage benefits.” (Ex. E, ¶ 1.)

      47.     The Complaint further alleges that Hawbaker “designed, implemented

and maintained this clandestine scheme from at least 2015 through and including

2018,” before the scheme was “finally disclosed publicly on April 8, 2021.” (Id.)

      48.     The King Class Action sets forth causes of action for: (1) breach of

contract: failure to pay timely all wages and benefits earned; (2) continuing breach

of contract: misappropriated retirement accounts; (3) violation of the Wage Payment

and Collection Law; (4) restitution; and (5) unjust enrichment. (Id. at Counts I

through V.)

E.    The Packer Class Action
      49.     On October 13, 2021, Plaintiffs Lester Packer, Sr., Lester Packer II, and

Shawn Dyroff, individually and on behalf of the Glenn O. Hawbaker, Inc. Benefit


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Plan, initiated the Packer Class Action against Hawbaker, the Board of Directors of

Hawbaker, the Plan Administrator of the Glenn O. Hawbaker, Inc. Benefit Plan, and

John Does 1-20. A copy of the Packer Class Action Complaint is attached as Exhibit

F.

       50.   The Packer Class Action Complaint alleges that the defendants

breached certain fiduciary duties by, among other things, failing to make required

contributions to Hawbaker’s 401(k) retirement savings plan and other employee

benefits plans covered under ERISA. (See Ex. F.)

       51.   The Packer Class Action plaintiffs allege the following two counts:

(a) Count I: breaches of fiduciary duties of loyalty and prudence, as against

Hawbaker and the Plan Administrator; and (b) Count II: failure to adequately

monitor other fiduciaries, as against Hawbaker and the Board. (Id. at Counts I and

II.)

       52.   Count I alleges that Hawbaker and the Plan Administrator breached

their fiduciary duties by failing to make required contributions to plaintiffs’

individual 401(k) accounts within the appropriate time frame and in the appropriate

amounts. (Id. at Count I.)

       53.   Count II alleges that Hawbaker and the Board breached their fiduciary

duties by failing to monitor the processes by which Plan contributions were made to

participant accounts. (Id. at Count II.)


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      54.    The Packer Class Action plaintiffs seek an order requiring the

defendants to restore all of defendants’ profits to the plan and to disgorge all profits

received from the Plan. (Id.)

E.    The Coverage Dispute
      55.    Hawbaker provided notice of the Criminal Action on or about April 16,

2021; notice of the King Class Action on or about May 19, 2021; and notice of the

Packer Class Action on or about October 14, 2021, and sought coverage for each

action under the 2021 Policy.

      56.    Twin City issued reservation of rights letters to Hawbaker with respect

to each notice, advising that, based on the information then available, there was no

coverage for any of these claims, all of which appear to be interrelated, as defined

under the 2021 Policy.

      57.    Upon information and belief, Hawbaker was aware prior to the

inception of the 2021 Policy that it was being investigated for improper wage

practices, that its wage and Plan administration practices were improper, and that the

investigation and wage and Plan administration practices were reasonably likely to

lead to a Claim. For example, as explained above, (a) the Search Warrant was

executed on Hawbaker in June of 2018; (b) the alleged underfunding of the benefit

plans – which is alleged to have been done knowingly and intentionally by

Hawbaker and Hawbaker’s executive-level personnel – occurred between


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September of 2015 through December of 2018; (c) in June 2019, Hawbaker retained

a consultant and subsequently changed the way that it handled payment of prevailing

wage fringe benefit funds; and (d) according to the Commonwealth, Hawbaker

admitted prior to early April 2021 that it had improperly used prevailing wage

benefit funds to pay for general employee, executive, and owner benefits.

      58.    The 2021 Policy does not provide coverage for any loss that is not

fortuitous or that either has already taken place or is in progress, as is the case here.

Further, there is no coverage under Common Terms and Conditions Section XVI

where the Application contains misrepresentations, as is the case here.

      59.    The Plea Agreement expressly states that Hawbaker is to pay

$20,696,453.00 as “restitution” “to affected victims,” and the civil plaintiffs in the

underlying class actions seek restitution as damages and the return of improperly

withheld funds and benefits, including by alleging that Hawbaker failed to timely

pay all wages and benefits to employees under the Prevailing Wage Act and Davis-

Bacon Act and misappropriated and underfunded employee benefit plans. The

plaintiffs to the underlying civil actions seek return of improperly withheld funds

and/or benefits.

      60.    The 2021 Policy does not provide coverage for restitution or

disgorgement.




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      61.    The underlying Packer and King Class Actions allege that Hawbaker

deliberately engaged in a fraudulent scheme of wage abuse, which allegations

remain pending. The Packer Class Action plaintiffs also allege that Hawbaker failed

to timely pay all wages and benefits due to employees under the Prevailing Wage

Act and Davis-Bacon Act, misappropriated and underfunded employee benefit

plans, and committed violations of ERISA.

      62.    Coverage for the underlying lawsuits is also barred in whole or in part

by Exclusion III(A)(6) of the Fiduciary Liability Coverage Part, which provides, in

part, that Twin City shall not pay Loss in connection with any Claim based upon,

arising from, or in any way related to any: (a) claims for unpaid wages; (b) actual or

alleged violation of the Equal Pay Act, Worker Adjustment and Retraining

Notification Act, or any rule or regulation promulgated thereunder, or similar

federal, state, local or common laws, rules or regulations; or (c) Wage and Hour

Violation.

      63.    To the extent that a final adjudication already has or later does occur,

coverage for the underlying lawsuits may further be barred, in whole or in part, by

Exclusion III(B)(7) of the Fiduciary Liability Coverage Part, which provides that

Twin City shall not pay Loss of an Insured, based upon, arising from, or in any way

related to the gaining of any personal profit, remuneration, or financial advantage to




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which such insured is not legally entitled if a judgment or other non-appealable final

adjudication in the underlying action establishes that such a gain did occur.

      64.    To the extent that a final adjudication already has occurred or later does

occur, coverage for the underlying lawsuits may further be barred, in whole or in

part, by Exclusion III(B)(8) of the Fiduciary Liability Coverage Part, which provides

that Twin City shall not pay Loss of an Insured based upon, arising from, or in any

way related to any criminal or deliberately fraudulent act or omission, or any willful

violation of law by such Insured if a judgment or other non-appealable final

adjudication in the underlying action establishes such an act, omission or violation;

provided, however, that this exclusion shall only apply to Insured Entities if a past

or present chief executive officer, chief financial officer, general counsel, or any

position equivalent to the foregoing of the Named Entity committed such an act,

omission, or willful violation.

      65.    Coverage for the underlying lawsuits may also be barred, in whole or

in part, by Exclusions III(B) of the Employment Practices Coverage Part, which

provides, in part, that Twin City shall not pay Loss in connection with any Claim

based upon, arising from, or in any way related to: (1) any claims for unpaid wages;

(2) any actual or alleged violation of ERISA, or any similar law; or (3) any Wage

and Hour Violation.




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       66.    Coverage for the underlying lawsuits may further be barred by

Exclusion III(C) of the Employment Practices Coverage Part, which provides that

Twin City shall not pay Loss in connection with any Claim based upon, arising from,

or in any way related to liability incurred for breach of any oral, written, or implied

employment contract; provided, however, that this exclusion shall not apply to

liability that would have been incurred in the absence of such contract nor shall it

apply to the portion of Loss representing Defense Costs incurred to defend against

such liability.

       67.    Hawbaker disputes that there is no coverage and continues to assert that

there is coverage under the 2021 Policy, prompting Twin City to file this action.

                      COUNT I: DECLARATORY JUDGMENT
       68.    Twin City re-alleges and incorporates by reference each of the

allegations set forth above.

       69.    This is a claim for declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202.

       70.    There is no coverage for any of the three underlying actions under the

2021 Policy for the reasons discussed above. Further, to the extent Hawbaker

contends that there should be coverage under the 2020 Policy, there is no coverage

under that Policy for similar reasons.




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      71.      An actual and justiciable controversy has arisen between the parties to

this action regarding the parties’ respective rights, duties, and obligations under the

2021 Policy.

      72.      Twin City is entitled to a judicial declaration that there is no coverage

for any of the three underlying lawsuits or related defense costs under the 2021

Policy.

      73.      To the extent Hawbaker seeks coverage under the 2020 Policy, an

actual and justiciable controversy has arisen between the parties to this action

regarding the parties’ respective rights, duties, and obligations under the 2020

Policy. Twin City seeks a judicial declaration that there is no coverage under that

Policy as well.

            WHEREFORE, Twin City respectfully respects that this Court:

                  (a) Issue declaratory judgment in favor of Twin City, declaring that

                     Twin City has no duty to provide any coverage in connection with

                     the underlying actions;

                  (b) Award Twin City its costs incurred in this action; and

                  (c) Grant such other and further relief as may be necessary and

                     appropriate under the circumstances, including all other relief

                     available at law or in equity to which Twin City may be entitled

                     and to which this Court deems just and proper.


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                          DEMAND FOR TRIAL BY JURY
     Twin City demands a trial by jury on all issues so triable.

Dated:        September 21, 2022

                                                HANGLEY ARONCHICK SEGAL
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